                                                              Case 2:11-cr-00467-JAM Document 118 Filed 10/03/13 Page 1 of 2


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                                                    6   KRISTINE ATOYAN
                                                    7

                                                    8                                 IN THE UNITED STATES DISTRICT COURT

                                                    9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                   10

                                                   11   UNITED STATES OF AMERICA,                             Case No. 2:11-CR-00467-JAM
                                                   12                    Plaintiff,
B ARTH T OZER & D ALY LLP




                                                                                                              STIPULATION AND
                       S ACRAMENTO , C ALIFORNIA




                                                   13            v.                                           ORDER
                           A TTORNEYS A T L AW




                                                   14   KRISTINE ATOYAN,
                                                   15                    Defendant.

                                                   16            Kristine Atoyan was indicted in 2011. As a condition of her pre-trial release she was

                                                   17   required to relinquish control of her passport. On October 1, 2013 the Government moved to

                                                   18   dismiss the charges against Kristine Atoyan. Ms. Atoyan now seeks the return of her passport.

                                                   19            The parties hereby stipulate that, in light of the dismissal in the above captioned case, Ms.

                                                   20   Atoyan’s passport should be returned to her and request this court order Pre-Trial Services and

                                                   21   the Clerk’s office to return Ms. Atoyan’s passport.

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                                                        STIPULATION AND [PROPOSED] ORDER               1                                  [Case No. 2:11-CR-0467-JAM]
                                                          Case 2:11-cr-00467-JAM Document 118 Filed 10/03/13 Page 2 of 2


                                                    1   Dated: October 2, 2013.              BARTH TOZER & DALY LLP
                                                    2
                                                                                             By    /s/ Kresta Nora Daly
                                                    3                                              KRESTA NORA DALY
                                                                                             Attorneys for KRISTINE ATOYAN
                                                    4

                                                    5
                                                        Dated: October 2, 2013.              By     /s/ Kresta Nora Daly
                                                    6                                               LEE BICKLEY
                                                                                                    Assistant United States Attorney
                                                    7

                                                    8

                                                    9                                             ORDER

                                                   10           GOOD CAUSE APPEARING, Pre-Trial Services and the Clerk’s office are ordered to

                                                   11   return Kristine Atoyan’s passport. The passport may be released either to Kristine Atoyan or her

                                                   12   counsel, Kresta Nora Daly.
B ARTH T OZER & D ALY LLP
                       S ACRAMENTO , C ALIFORNIA




                                                   13   Dated: 10/3/2013
                           A TTORNEYS A T L AW




                                                                                               /s/ John A. Mendez_______________________
                                                   14                                          HONORABLE JOHN A. MENDEZ
                                                                                               UNITED STATES DISTRICT COURT JUDGE
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                                                        STIPULATION AND [PROPOSED] ORDER           2                                   [Case No. 2:11-CR-0467-JAM]
